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                   UNITED STATES DISTRICT COURT
      FOR THE Northern District of Illinois − CM/ECF NextGen 1.8 (rev. 1.8.3)
                                Eastern Division

Hadi Abuatelah
                              Plaintiff,
v.                                                  Case No.: 1:22−cv−03998
                                                    Honorable Georgia N Alexakis
Officer One, et al.
                              Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, February 27, 2025:


         MINUTE entry before the Honorable Jeffrey Cole: Judge Alexakis has referred the
case here for the purpose of holding proceedings related to: Discovery supervision and for
settlement conference. [105] and [106]. Judge Alexakis has lifted the previously imposed
stay of discovery on 2/3/25 [Dkt. [98]]. The Court adopts the proposed discovery schedule
included in the parties' Joint Initial Status Report [104]. The discovery is as follows:
Amendment to Pleadings by 6/30/25; Close of Fact Discovery (including depositions) by
8/30/25; Disclosure of Plaintiff's Expert Report(s) by 10/30/25; Disclosure of Defendant's
Expert Report(s) by 11/30/25; Deposition of Plaintiff's Expert by 12/30/25; Deposition of
Defendant's Expert by 1/30/26; Expert discovery to be completed by 1/30/26; Dispositive
Motions Due by 3/30/26 (subject to District Court approval). Counsel should submit a
joint status report every 3 months to this Court, signed by counsel, specifically detailing
the progress of discovery for the reporting period, after the Court's initial video status
conference. An initial video status conference is set for 5/27/25 at 10:30am. Instructions
will be emailed to counsel. Members of the public and media will be able to call in to
listen to this hearing. Please call (855)−244−8681, access code 1807229989#. Persons
granted remote access to proceedings are reminded of the general prohibition against
photographing, recording, and rebroadcasting of court proceedings. Violation of these
prohibitions may result in sanctions, including removal of court issued media credentials,
restricted entry to future hearings, denial of entry to future hearings, or any other sanctions
deemed necessary by the Court. Emailed notice (yt)




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